Case 3:21-cv-00881-X Document 156 Filed 09/01/23               Page 1 of 3 PageID 11684



                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

   In re                                             §
                                                     §   Civ. Act. No. 3:21-cv-0881-x
   HIGHLAND CAPITAL MANAGEMENT,                      §
   L.P.                                              §   Consolidated with:
                                                     §   3:21-cv-0880-x
             Reorganized Debtor/Plaintiff,           §   3:21-cv-1010-x
                                                     §   3:21-cv-1378-x
   v.                                                §   3:21-cv-1379-x
                                                     §   3:21-cv-3160-x
   NEXPOINT ASSET MANAGEMENT,                        §   3:21-cv-3162-x
   L.P. (f/k/a HIGHLAND CAPITAL                      §   3:21-cv-3179-x
   MANAGEMENT FUND ADVISORS,                         §   3:21-cv-3207-x
   L.P.), et al.,                                        3:22-cv-0789-x

             Defendants.

             NOTICE OF APPEAL TO UNITED STATES COURT OF APPEALS
                            FOR THE FIFTH CIRCUIT

           NexPoint Real Estate Partners, LLC (f/k/a HCRE Partners, LLC) (“HCRE”),

  defendant in Civ. Act. No. 3:22-cv-0881-x (consolidated with the above-captioned matters)

  and the adversary proceeding styled Highland Capital Management, L.P. vs. HCRE Partners,

  LLC (n/k/a NexPoint Real Estate Partners, LLC, et al., Adversary Proceeding No. 21-03007-

  sgj, appeals to the United States Court of Appeals for the Fifth Circuit from the following

  orders of the District Court for the Northern District of Texas: (1) the AMENDED FINAL

  JUDGMENT AGAINST NEXPOINT REAL ESTATE PARTNERS, LLC (f/k/a HCRE

  PARTNERS, LLC) entered in this consolidated case as Dkt. 146 on August 3, 2023, and (2)

  Electronic Orders Dkt. 129 and Dkt. 131 (clarified by Electronic Order Dkt. 135, entered on

  July 6, 2023) which denied as moot the Motion for Ruling on Pending Objections (addressing,

  inter alia, an Objection to Order Denying Motions to Extend Expert Disclosure and Discovery

  Deadlines).


                                                 1
  3522697.0002/184062971.1
Case 3:21-cv-00881-X Document 156 Filed 09/01/23           Page 2 of 3 PageID 11685



           The parties to the judgment appealed from and the names and addresses of their

  respective attorneys are as follows:

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                                                2
  3522697.0002/184062971.1
Case 3:21-cv-00881-X Document 156 Filed 09/01/23              Page 3 of 3 PageID 11686



  Dated: September 1, 2023

                               Respectfully submitted,

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                               Attorneys for Defendant NexPoint Real Estate Partners, LLC
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                               CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on September 1, 2023, a true and correct copy
  of the foregoing document was served via the Court’s CM/ECF system on all parties registered
  to receive electronic notices in this case.

                                       /s/ Deborah Deitsch-Perez
                                       Deborah Deitsch-Perez




                                                 3
  3522697.0002/184062971.1
